
Cox, J.
Plaintiff in error loaned money to the Inventor’s Manufacturing Company, lessees from the defendant of a building on West Sixth street, and as security took a bill of sale, which was in reality a mortgage of the chattels of the lessees. A part of the money borrowed was used in payment of rent, and the receipt was made out in Mr. Sibley’s name. Subsequently bills and receipts were made out in Mr. Sibley’s name, and in the present suit for rent he was made defendant. The testimony showed that the president of the leasing company was a son-in-law of Sibley’s, but that Mr. Sibley himself was never in possession of the premises occupied, and had no knowledge that bills and receipts were made out in his name.
Held, that, as Sibley was not in possession, and had no right to recover possession of the premises, he could not he held responsible for the rent, and that the taking of receipts for rent in his name, by the mortgagors, without his knowledge, did not make him responsible for future rents.
